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                         IN THE DISTRICT COURT OF THE UNITED STATES
                             FOR THE MIDDLE DISTRICT OF ALABAMA
                                      NORTHERN DIVISION

MARCUS DEWAYNE WEAVER, #268085,                    )
                                                   )
            Plaintiff,                             )
                                                   )
       v.                                          )       CIVIL ACTION NO. 2:14-CV-008-TMH
                                                   )                  [WO]
                                                   )
KARLA JONES, et al.,                               )
                                                   )
            Defendants.                            )

                   RECOMMENDATION OF THE MAGISTRATE JUDGE

       This case is before the court on a 42 U.S.C. § 1983 complaint filed by Marcus Dewayne

Weaver ["Weaver"], a state inmate, in which challenges his confinement in segregation, lack of a

transfer to another correctional facility and denial of access to favorable prison programs. Weaver

did not submit the $350 filing fee and, instead, filed a document seeking leave to proceed in forma

pauperis before this court. Application to Proceed Without Prepayment of Fees - Doc. No. 2. In

support of this request, Weaver provided financial information necessary to determine the average

monthly balance in his prison account for the 6-month period immediately preceding the filing of

this complaint and the average monthly deposits to his inmate account during the past six months.

       After a thorough review of the financial information provided by Weaver and pursuant to the

requisite provisions of 28 U.S.C. § 1915(b)(1)(A), the court determined that Weaver owed an initial

partial filing fee of $9.17. January 8, 2014 Order - Doc. No. 3 at 1-2. The court therefore ordered

Weaver to pay the initial partial filing fee on or before January 28, 2014. Id. at 2. In addition, this

order specifically informed Weaver "that it is his responsibility to submit the appropriate

paperwork to the prison account clerk for transmission of his funds to this court for payment
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of the initial partial filing fee." Id. (emphasis in original). The order also "advised [Weaver] that

if he is unable to procure the initial partial filing fee within the time allowed by this court he must

inform the court of such inability and request an extension of time within which to file the fee." Id.

at 3. Moreover, the court specifically cautioned Weaver that failure to pay the requisite fee within

the time allowed by the court would result in a Recommendation"that his case be dismissed and such

dismissal will not be reconsidered unless exceptional circumstances exist." Id.

       Weaver has failed to pay the initial partial filing fee within the time allowed by this court.

In addition, Weaver did not advise the court of the need for an extension to pay the partial filing fee

as directed by the aforementioned order nor did he provide any reason for his failure to pay this fee.

The court therefore concludes that this case is due to be dismissed. Moon v. Newsome, 863 F.2d 835,

837 (11th Cir.1989) (As a general rule, where a litigant has been forewarned, dismissal for failure

to obey a court order is not an abuse of discretion.); see also Tanner v. Neal, 232 F. App'x 924 (11th

Cir. 2007) (affirming sua sponte dismissal without prejudice of inmate's § 1983 action for failure

to file an amended complaint in compliance with court's prior order directing amendment and

warning of consequences for failure to comply).

       Accordingly, it is the RECOMMENDATION of the Magistrate Judge that this case be

dismissed without prejudice for failure of the plaintiff to pay the initial partial filing fee in

accordance with the provisions of 28 U.S.C. § 1915(b)(1)(A) as ordered by this court. It is further

       ORDERED that the parties are DIRECTED to file any objections to the said

Recommendation on or before February 28, 2014. Any objections filed must specifically

identify the findings in the Magistrate Judge’s Recommendation to which the party is


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objecting. Frivolous, conclusive, or general objections will not be considered by the District

Court. The parties are advised that this Recommendation is not a final order of the court and,

therefore, it is not appealable.

        Failure to file written objections to the proposed findings and recommendations in the

Magistrate Judge’s report shall bar the party from a de novo determination by the District

Court of issues covered in the report and shall bar the party from attacking on appeal factual

findings in the report accepted or adopted by the District Court except upon grounds of plain

error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982); see Stein v.

Reynolds Securities, Inc., 667 F.2d 33 (11th Cir. 1982); see also Bonner v. City of Prichard,

661 F.2d 1206 (11th Cir. 1981) (en banc), adopting as binding precedent all of the decisions

of the former Fifth Circuit handed down prior to the close of business on September 30,

1981.

        Done this 14th day of February, 2014.

                                           /s/ Wallace Capel, Jr.
                                           WALLACE CAPEL, JR.
                                           UNITED STATES MAGISTRATE JUDGE




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